83 F.3d 414
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kenneth Franklin BELL, Plaintiff-Appellant,v.Lieutenant MCCULLION;  Medical Staff, Cumberland CountyJail;  Officials, Cumberland County Jail,Defendants-Appellees.
    No. 95-7958.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 15, 1996.Decided:  April 30, 1996.
    
      Kenneth Franklin Bell, Appellant Pro Se.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we deny Appellant's motion for appointment of counsel and affirm on the reasoning of the district court.   Bell v. McCullion, No. CA-95-150-CT-BR (E.D.N.C. Nov. 16, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    